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                                                         iMessage
                                                     11/24/18, 9:26 AM




                                                                                    USZA Newsletter Nov 2018.doc

                                            Joe sent out a USZA news letter to old members and the USZA is under
                                            investigation of the IRS

                                                     11/24/18, 1:26 PM


      Very nice. Happy belated Thanksgiving!

                                                                          Happy thanksgiving to y’all too :)
                                                                          Jeff said call him when you get a chance

      Will do!

                                                                                                         Thank you!

                                                     12/4/18, 5:56 PM


                                                                                                 How much longer?

                                                     12/5/18, 8:06 PM


                                                                                             Can you call me please

                                                     2/20/19, 9:03 AM


                                      Hey just so you know I’m heading to a dr appt this morning and will be back at
                                      the park around 10

                                                                                 And Allen leaves for trail today at 1

                                                     3/24/19, 8:59 PM




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                                    Look what I found on Instagram.. Ashley Webster and Joe talking right before he
                                    got arrested.
                                    _.beast.master._
                                    This was all on joes IG page.




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                                                    3/24/19, 10:30 PM




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                                     Look what we found in our folders! Ashley Webster.. she only worked for us for 1
                                     week!! What a liar!!
                                     She even signed a form that said no pats allowed.

                                                                                              And no health issues.

                                                        Text message
                                                      3/25/19, 10:32 AM


                                       OH MY GOD!!! ALLEN HAD SEX WITH ASHLEY WEBSTER!!! SHE LIVED IN
                                       HIS TRAILER!!!

                                                           iMessage
                                                       3/25/19, 1:40 PM


      Thank you for the info. Please, no more texting. Ask for a call or meeting and we
      can discuss.

                                                       3/26/19, 7:04 PM


                                                                                          I need you to call me ASAP

                                                       3/27/19, 9:50 PM




      James Markley.vcf

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                                                                                                           Got it thanks

                                                           3/28/19, 7:24 PM


                                                                                                                Call me

      Meeting. Give me a few

                                                                                                                  Okay

                                                           4/2/19, 4:41 PM


      In meetings. Call later

                                                                                                                   10-4

                                                           4/2/19, 7:41 PM


                                                                                                   Are you able to talk?

                                                           4/6/19, 10:26 AM




                                                           7/5/19, 6:52 PM


                                                                                           Hey, joe has a phone in jail.

                                                           7/5/19, 10:16 PM


      Lol ... that won’t be good for him!! He can’t be quiet. I’ll check on it

                                          Thank you! Btw, I got a phone call today from our neighbor asking if we had a
                                          cougar loose... we said no why?
                                          They replied saying “because I’m looking at one on the River with a cub in its
                                          mouth”
                                          Haha so there is a cougar mommy close by.




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                                                     7/13/19, 1:07 PM




                                                                I seriously can’t help but be entertained by this mess

                                                     7/13/19, 7:33 PM


      So crazy

                                                     7/16/19, 3:15 PM




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                                                      7/22/19, 5:54 PM


                                                                              Any idea when Joes sentencing will be?

      30-60 days I would think

                                                                    We thought end of July would have been 90 days..

      Yeah, I was hoping the same thing. Shouldn’t be much longer

                                                 Crossing fingers. Did you see he threatened Jeff in one of his post?

      I don’t doubt it. Joe has never been good about being quiet

                                                                                              No he definitely is not.

                                                        Text message
                                                      7/26/19, 9:54 PM


                                                                                          Hey! Have you retired yet?

                                                          iMessage
                                                      7/29/19, 10:51 AM


      Lol, nothing has changed with the status of my occupation. Everything is the
      same.

                                                      8/4/19, 10:45 PM




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                                      This dumbass just admitted to 2 more felonies and stealing two cats from us we
                                      didn’t know about. This should be enough to even charge Greg woody. And now
                                      I know where our cats went ...

                                      sorry it’s a late text

                                                          8/22/19, 5:36 PM


      Sorry missed your call. In a meeting

                                                                                                Okay, call me afterwards

                                                          8/22/19, 8:44 PM




                                                               Looks like y’all have a tiger problem in Las Vegas again lol
                                                               And it’s not us!

                                                          8/29/19, 3:22 PM


      In training class. Call ya back in a few

                                                                                                                    Okay.

                                                          10/4/19, 7:06 PM




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                                                      10/5/19, 12:26 AM




                                         Matt... I can’t promise anything but if I ever run into this dumb fuck.. it’s on!!

                                                      10/5/19, 11:07 AM


      Pure ignorance

                                                        Text message
                                                      11/15/19, 2:55 PM


                                   Hey, do you know anything about department of agriculture calling Nevada for
                                   public records on animals being transported? Not exactly sure what it’s about but
                                   I received the message from the staff

                                                                      Never mind, found out it is peta snooping for info

                                                          iMessage
                                                      11/15/19, 6:29 PM




                                                     11/16/19, 10:49 AM


                                                                                          https://youtu.be/IHM-xygZn00

                                                      11/26/19, 5:00 PM



                                                                                   Hey give me a call when have a sec

                                                     12/14/19, 12:34 PM




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                                               Hey! Hope you’ve been doing well. Check out our mommy with her cubs

                                                        12/16/19, 10:52 AM


      Very cool!

                                                         1/24/20, 5:04 PM


                                                                      Hey, I need to call you in a few mins. It’s important.

      I’m available

                                                          5/7/20, 7:15 PM


                                                                                        Do you mind giving me a quick call

                                                         5/7/20, 11:55 PM


      Just got this. Call ya in the morning

                                                          5/8/20, 3:35 PM


      At dentist

                                                                     Yeah... I just got a very interesting latter in the mail..

                                                         5/10/20, 7:08 PM


                                                                             Can you give Jeff a call when you have a min

                                                         5/11/20, 2:05 PM


      I got busy this morning but will call Jeff soon

                                                                                                             Okay thank you

                                                         5/13/20, 11:18 AM


                                       Hey, are we entitled to any of the evidence that you gave you for joes trail. Only
                                       one thing we’d like back which is the dvd of Joe reink and finlay at BCR. That
                                       was our only copy.

      I will return anything that was provided to me. But I can only return it after the
      appeal.

                                                                                                             Okay thank you

                                                         7/30/20, 12:57 PM


                                                                       'Tiger King' Zookeeper Erik Cowie Gets New Teeth

                                              http://www.tmz.com/2020/07/30/tiger-king-zookeeper-erik-cowie-new-teeth

      Very cool thing y’all did!

                                                                                                              He’s so happy!!




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                                                      8/17/20, 3:07 PM


                                    Hey, I don’t know if you have heard yet or not but I know we told you a while ago
                                    we heard that Paul Malgerio was selling tiger cubs.
                                    Well, some girl privately messaged me online saying that someone she knows
                                    “Trish Meyer” is selling tiger cubs down in Houston and she sent me a
                                    screenshot of a post paul malgerio being down there with Trish.
                                    The girl told me Trish is trying to sell tiger cubs and have them down at her
                                    home. Trish apparently tried asking this girl if she wanted to buy a tiger cub. Not
                                    sure if you’re interested but I can pass along the girls information to you.

                                                      12/29/20, 6:27 PM


                                                                 Do you mind giving me a call when you have a min :)

                                                       1/8/21, 3:33 PM


                                                                          Have you been told not talk to us anymore?
                                                                                                               Read 1/8/21




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